               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:09 CR 29-1


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
ALEBERT ESPINOZA.                             )
                                              )
____________________________________          )


        THIS MATTER has come before the Court, pursuant to a motion filed by L.

Aron Pena, counsel for Defendant entitled “Unopposed Motion to Reschedule

Hearing” (#198) and a motion entitled “Motion to Withdraw Request for Continuance

Hearing” (#199).    It appears from the motions that L. Aron Pena had initially

requested a continuance of the hearing that has been scheduled in this matter for July

5, 2011 and filed a motion requesting such a continuance. However, thereafter Mr.

Pena filed a notice that he was withdrawing such motion.



                                      ORDER

        IT IS, THEREFORE, ORDERED that the motion entitled                “Motion to

Withdraw Request for Continuance Hearing” (#199) is hereby ALLOWED and the

motion entitled “Unopposed Motion to Reschedule Hearing” (#198) is hereby

considered to be withdrawn and DENIED.




      Case 2:09-cr-00029-MR-WCM     Document 201      Filed 07/12/11   Page 1 of 2
                                Signed: July 12, 2011




                                2



Case 2:09-cr-00029-MR-WCM   Document 201    Filed 07/12/11   Page 2 of 2
